        Case 6:23-cv-00321-ADA           Document 66           Filed 03/18/24   Page 1 of 15




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION

                                                           §
 SECURITIES AND EXCHANGE COMMISSION,                       §
                                                           §
          Plaintiff,                                       §
                                                           §
 V.                                                        §        Case No. 6:23-cv-00321-ADA
                                                           §
 ROY W. HILL, ERIC N. SHELLY,                              §
 CLEAN ENERGY TECHNOLOGY                                   §
 ASSOCIATION, INC., and                                    §
 FREEDOM IMPACT CONSULTING, LLC,                           §
                                                           §
          Defendants.                                      §
                                                           §

      RECEIVER’S QUARTERLY REPORT FOR THE FOURTH QUARTER OF 2023

         Receiver Albert C. Black III (“Receiver”) provides this quarterly report for the period

October 1, 2023 through December 31, 2023, respectfully stating:

                                            Introduction

         1.      This quarterly report is made pursuant to the requirements of the Order Appointing

Receiver (“Appointment Order”) (Doc. 8, at 16, para. 53).

         2.      This report builds upon the Receiver’s earlier reports (Docs. 27, 32, 34 & 52).

I.       SUMMARY OF THE OPERATIONS OF THE RECEIVER

         3.      During the fourth quarter of 2023, the Receiver engaged in the following principal

activities:

      A. CETA Assets – Determination to Recommend Interim Distribution and Liquidation

         4.      In the Receiver’s last quarterly report, the Receiver advised that, in view of the

agreed judgments entered with respect to the individual defendants, the Receiver would turn to

questions of liquidation and interim distribution.



RECEIVER’S QUARTERLY REPORT – Q4 2023 – Page 1
        Case 6:23-cv-00321-ADA                 Document 66            Filed 03/18/24          Page 2 of 15




         5.       Since that time, the Receiver has been able to carefully consider the proper course

of action to be taken with regard to the CETA assets with the benefit of an expert in the field.

Based upon that work, the Receiver determined to seek Court approval for an interim distribution

of the majority of the CETA cash and a liquidation of the CETA equipment.1

         6.       To assist him in assessing the CETA assets, the Receiver proposed (Doc. 47) and

the Court approved (by text order) the retention of Byron Veech, who is an expert in the technology

at issue in this case. As detailed in his CV (Doc. 48 at 2-5), Mr. Veech holds a Bachelor of Science

degree in Chemistry and Environmental Studies from Millikin University, as well as a Master of

Science, Management and Finance degree from Lindenwood University.                                 He has spent a

substantial portion of a more than fourty-year career in the coal industry. He also has experience

as a plant and coal lab chemist. The principal equipment owned by CETA consists of coal refining

machinery and two small carbon capture research/demonstration models. It should be noted that

none of the final design of the carbon capture unit are operational. Mr. Veech has substantial

experience with the construction, operations of and the decommissioning of coal-fired power

plants. He is also conversant with efforts to refine coal, including the chemical processes that have

been attempted and worked at a DOE refined coal research project in the 1980s. He is further

conversant with the chemistry and methods available to clean gas streams in oil and gas operations.

Using his training and experience, Mr. Veech has undertaken a substantial review and analysis of

the CETA records and physical equipment, and has interviewed witnesses.

         7.       Mr. Veech’s charge was to assess and to determine the highest and best use of the

items identified by Mr. Hill as assets of CETA in his sworn inventory. The relevant portions of

the sworn inventory are listed on Exhibit D hereto.


1
  This course of action will entail seeking a Court resolution of the opposition of Mr. Hill. Mr. Hill generally asserts
that the technology has great promise and should continue to be pursued.


RECEIVER’S QUARTERLY REPORT – Q4 2023 – Page 2
       Case 6:23-cv-00321-ADA          Document 66        Filed 03/18/24      Page 3 of 15




       8.      Mr. Veech was given access to the collected electronic and hard copy CETA

records in the Receiver’s document repository. Mr. Veech toured the Fairfield and Streetman sites.

He examined equipment onsite at the fabricator that had not been delivered. He examined

equipment being stored by the Receiver. He interviewed Mr. Hill, PWC personnel, and others.

       9.      Based upon his work in compiling these information sources, Mr. Veech put

together an overview as to how the equipment came to exist. It seems Mr. Hill was influenced by

the coal-fired Big Brown Power Plant located near Fairfield, as well as the coal mine that was a

substantial source of its fuel. Big Brown was constructed in 1971 and operated until 2018. One

substantial source of fuel was locally-mined lignite. In 2007 and 2008, the possible closing of the

plant for environmental and economic reasons was a matter of some concern in Fairfield. At that

time, Mr. Hill was the Mayor of Fairfield. In 2009, CETA was incorporated and opened an office

on Main Street in Fairfield. CETA’s stated objectives included helping the plant stay in operation

by creating a cleaner type of fuel or, at least, helping the mine stay in operation by improving the

performance of coal generally as a fuel. To accomplish this, CETA examined several “Clean Coal”

processes and determined that coal pyrolysis could be useful. Generally speaking, there is nothing

new about pyrolysis. It is a process by which materials such as wood are turned into charcoal, and

coke for metal working, and has since ancient times. The fact that a similar process can create

liquid by-products was known to the ancient Egyptians, who created embalming fluid from cedar

wood. It generally involves applying low heat and limiting oxygen to the combustion process. It

is used in reducing organic materials to pure carbon (Char), and creating by products such as

sulfuric acid, tars and solvents. The Char is even used in various methods of cooking food. CETA

applied this old technology by placing coal in a sealed lower temperature reducing environment to

produce combustible char, liquids and various gasses. Its stated objective was to produce a solid

product that would have more concentrated energy (BTU) content, as well as by-products of oily

RECEIVER’S QUARTERLY REPORT – Q4 2023 – Page 3
      Case 6:23-cv-00321-ADA          Document 66       Filed 03/18/24      Page 4 of 15




liquids and combustible gas, while also removing the water and some of the environmentally

undesirable materials in the course of the distillation process. In 2009, CETA employees also may

have created lab-scale coal pyrolysis equipment, at least this is what CETA later reported in its

investment marketing materials. They apparently promoted the creation of a “Mini Pilot Unit”

weighing 100 pounds. They began work at a site in Fairfield on Bateman Street. They coined the

term “CoalLite” to describe the refined coal. This effort appears to have attracted certain

substantial investors. This allowed CETA to create larger equipment at the Fairfield plant. By

2012, the equipment was able to produce demonstration quantities of CoalLite, oils and solvents,

and synthetic gas. Again, this was an application of known technology to produce an expected

result. Plans were circulated, however, for a larger scale operation. According to CETA

promotional materials, CETA reached out to utility companies, mines, investment brokers, and

individual investors, some of whom inspected the test site and the products produced. But, funds

for a large installation could not be raised. What could be raised was used to create somewhat

larger demonstration units at the Fairfield plant. Mr. Hill reported that, in 2013, he championed

an effort to purchase the Big Brown plant and the mine, which, in his view, would have allowed

CETA to have a platform for proving the value of the CoalLite product. The proposals were not

accepted. Mr. Hill also reports that CETA had many discussions in this timeframe with coal

suppliers and power generation groups, both domestic and foreign, none of which were fruitful. It

seems that sometime in 2014 Mr. Hill turned to presenting the solvent for use in the oil and gas

industry. It was branded as CETASolve. The proposal was that this solvent could be employed

in what was described as a carbon capture unit (CCU), which would be incorporated into well

heads and oil pipelines. Again, small-scale demonstration models were created. Additionally,

both the coal distillation units and carbon capture units were manufactured, principally, by the

PWC company in Corpus Christi. As previously reported, although there were supposedly over

RECEIVER’S QUARTERLY REPORT – Q4 2023 – Page 4
      Case 6:23-cv-00321-ADA           Document 66        Filed 03/18/24     Page 5 of 15




150 CCUs installed and operating in the field, in fact, PWC reports they only manufactured 47 of

the central components. Commencing in 2014 and expanding in 2018, various brokers were more

successful in raising money from investors. This allowed CETA to develop an additional site in

Streetman for the purpose of building ten more of the commercial size versions of the original

CoalLite distillation units. Although these were built, the ten units at Streetman and five of the

eleven units at Batmen were never completed, the first six commercial units at Batemen were

operational but were not significantly used. In late 2022 and 2023, CETA also worked to set up a

larger laboratory. As a result, when the Receiver was appointed in May 2023, there was equipment

at the Fairfield and Streetman sites, laboratory equipment in a warehouse, and partially fabricated

equipment at PWC. None of this equipment was in commercial operation.

       10.     Mr. Veech observed that there was very little documentation reflecting operating

or test results, and the condition of the equipment indicated relatively little use. He found only

1500 tons of coal, and 500 tons of the CoalLite product, which, in the coal business, is not much.

Mr. Veech could not credit Mr. Hill’s assertion that the equipment operated regularly. Although

Mr. Hill gave detailed stories of how the equipment was wound down over the weekends and

brought back up into operation the next week, the physical evidence indicates this did not occur.

When asked about operating records, Mr. Hill referred to the “red files” and the digital historical

records, which, when examined, indicated between 70 and 100 total runs of the coal distillation

demonstration units. Mr. Veech calculated the volumes of materials that would be involved in

actual operations, and they are very much larger than the physical evidence indicates were actually

processed.

       11.     Mr. Veech found the records do not support the view that commercial sales of the

products ever occurred. Mr. Hill did not dispute this point.




RECEIVER’S QUARTERLY REPORT – Q4 2023 – Page 5
       Case 6:23-cv-00321-ADA           Document 66        Filed 03/18/24      Page 6 of 15




       12.     Mr. Veech noted that even the non-operating assets had served as the basis of a

fraudulent scheme. Mr. Hill’s detailed, generally hand-written, statements for investor quarterly

reports as to the commercial operation of the units were entirely falsified.

       13.     Mr. Veech further observed:

               (1) The Fairfield plant does not appear capable of processing a large volume of

                   coal, and does not appear to have done so. He points out that coal is messy to

                   handle and is processed in large volumes that leave significant physical

                   evidence, which he did not find. Neither does the Fairfield plant have the rail

                   service needed for cost efficient operations.

               (2) There was little evidence of the purchase of coal for the operation. Perhaps as

                   many as five modest purchases occurred.

               (3) There was a limited amount of CETASolve onsite.

               (4) This are no records of shipping of CETASolve from the site. Very large

                   volumes would have been employed if commercial operations had been

                   occurring as claimed by the quarterly statements CETA issued to investors.

               (5) The coal distillation units were designed to have operating needs for a very

                   large volume of coal, which, as noted, was not supported by evidence or

                   records.

               (6) There was not even an operating demonstration model of the commercial design

                   of the carbon capture unit.

               (7) The Fairfield and Streetman plants do not bear physical evidence of material

                   operations.

               (8) The business records of CETA are poor.




RECEIVER’S QUARTERLY REPORT – Q4 2023 – Page 6
       Case 6:23-cv-00321-ADA             Document 66        Filed 03/18/24       Page 7 of 15




                  (9) The claims about operations and results in the investment marketing materials

                     are not supported by business records of such purported operations.

                  (10) The volumes of product found onsite are very low compared to what would be

                     present at an operating facility if the operations had actually been occurring in

                     the volumes indicated in the quarterly statements provided to investors.

                  (11) Records indicate CETA had fallen behind on payments to some of the earlier

                     investors.

                  (12) In all of the records, no exact location was ever recorded for an operating unit;

                     simply the term “Field” was used in the quarterly statements.

       14.        Mr. Veech reports that there are a few domestic companies exploring coal

pyrolysis using somewhat different designs, but most ventures have not been economically

succesful. There are also companies in Europe, Asia and India that are seeking to convert biomass

and waste materials into synthetic gas. They all work to some degree, but there are economic and

emissions issues. CETA’s efforts would therefore face competition.

       15.        Mr. Veech concluded that CETA’s demonstration coal distillation units do work to

a degree, there are issues presented in regard to scale, economics, and a generally unfavorable

domestic view of carbon-based combustion. Moreover, CETA was never commercially successful

in any respect.

       16.        In summary, the coal pyrolysis or distillation process in not new. Rather, CETA

took old technology and claimed that by containing the entire process of distillation and cooling,

they could make the entire process more environmentally friendly by reducing the emissions. The

patents CETA holds were directly linked to the more contained system but these ideas were never

fully tested on any kind of scale that is meaningful. The four products they produced were

basically the same as have always been generated by the coal pyrolysis process. CETA did find

RECEIVER’S QUARTERLY REPORT – Q4 2023 – Page 7
       Case 6:23-cv-00321-ADA           Document 66        Filed 03/18/24      Page 8 of 15




some new applications for the products they produced and some interesting ideas. But, they were

not commercially viable, and they would face substantial regulatory opposition as well.

       17.     Much of the equipment was tailored for CETA. While some equipment can be sold

for use elsewhere, most will have to be sold for scrap. Additionally, some environmental

remediation will be necessary.

       18.     Finally, it should be noted that Mr. Hill’s inventory does not value the most

significant supposed assets, but instead uses the phrase “to be determined” in respect of: “Ceta

Solve, gas and oil”; “Fairfield Plant”, “Streetman Plant”, “6 patents”. In fact, the inventory appears

to be tracking Mr. Hill’s rough estimation of how much was spent on various items, as opposed to

what they may actually be worth.

       19.     Based upon the evidence developed to date, and the further findings and opinions

of Mr. Veech, the Receiver recommends restoration to the investors of a large majority of the

CETA cash, and the liquidation of the CETA equipment.

   B. CETA Bank Records Compilation and Analysis

       20.     During the fourth quarter of 2023, the Receiver also commissioned, received, and

began to digest a compilation of the CETA bank records.

       21.     This was done because the books and records of CETA were woefully incomplete,

such that the Receiver did not have a reliable basis upon which to reconcile investor claims and

vendor claims and to answer the question repeatedly put to him as to where hundreds of millions

of dollars had actually gone and, relatedly, what he could and should do about it. The only credible

source from which to work were bank records he had methodically gathered in the preceding

months from Wells Fargo that spanned an eight-year period and contained over 21,000

transactions. So, what was needed was to design and to commission an efficient approach to

summarizing those records.

RECEIVER’S QUARTERLY REPORT – Q4 2023 – Page 8
      Case 6:23-cv-00321-ADA           Document 66        Filed 03/18/24     Page 9 of 15




       22.     The Receiver broke down the heart of the forensic problem by designing an

efficient means of summarizing the bank records and commissioning his forensic accountants to

execute that project. As Mr. Hill was not explaining how the accounts worked together, this first

involved review and analysis of CETA documents and select transactions to create a skeleton of

the relationships between the Wells Fargo accounts. For example, the Receiver had to resolve the

role of Freestone Energy, which the Receiver determined was a supposed operating company that,

in fact, was a mere conduit laundry of investor funds. Through this work, the Receiver identified

which accounts principally received investor funds, which accounts were principally intermediary

accounts, and, finally, which accounts principally effected payments back to investors. Having set

the account relationships in order, the Receiver next determined most of the transactions involved

a contribution by an investor (or investment entity into which investors had pooled funds) into one

of the contribution accounts and corresponding payments back out the other side of the web of

accounts to those same investors or earlier investors. A principal solution to segregating these

transactions by investor and separating them from other transactions was to enter all of the

transactions into a single worksheet with a common naming convention that would allow these

transactions to be classified and understood. This effort would further expose transactions where

investor funds had been diverted, either to the CETA operations, to insiders, or to others. This

was a time consuming effort, but it produced highly useful work product that can be used to

correctly divide the recovered funds and proceeds of liquidations among investors, to identify

insider transfers, to assess the CETA equipment expenditures, to address vendor claims, and to

identify and pursue funds diverted to third parties, in some cases without receiving reasonably

equivalent return value.

       23.     This work also brings further into focus the particular means by which the CETA

scheme was executed. First, as of early 2016, later investor dollars were already being used to

RECEIVER’S QUARTERLY REPORT – Q4 2023 – Page 9
      Case 6:23-cv-00321-ADA           Document 66         Filed 03/18/24      Page 10 of 15




fund regular payments to earlier investors. Second, this produced a significant number of early

“winners” who have not, as a result, presented themselves to the Receiver. Third, the forensic

work when initially compared with the investor claims showed a substantial number of early

investors neglected to include their early winnings on their claims. Since claims are adjusted on a

net cash loss basis, this needs to be corrected, so as to direct distributions in line with the losses

suffered. Fourth, fundraising continues to appear to total approximately $300 million dating back

to 2012 premised upon the CETA technology, with the coal refining projects being the oldest and

the carbon capture units being the most recent. Fifth, the net cash loss continues to hover

somewhat over $205 million. Sixth, one can begin to see that the loss amount is due to

approximately $51 million in payments to net winners, about $11 million in payments to insiders,

nearly $6 million to the Allen Brothers or for the benefit of that company, over $73 million in

payments to vendors, and a limited number of unidentified transfers, leaving approximately $63

million in cash recovered. The payments to net winners are, in part, to feeder entities through

which investors pooled investments, and so determining the claims at the individual investor level

will take additional work. The payments to insiders were principally deposited into Trust #2 (for

the benefit of Mr. Hill’s lifestyle and those of his ex-wife and other persons close to him). The

payments generally described as being to the Allen Brothers went to legal fees to support litigation

among the owners of that family business and to fund a line of credit that was used in part to settle

that litigation and in part to enhance the oil and gas operations of the Allen Brothers business.

Among the vendor payments, the largest recipient was PWC, which received over $20 million to

fabricate custom equipment. Finally, no evidence of revenues from CETA technology were found,

thus confirming CETA was a Ponzi scheme, due to the payment of funds derived from later

investors to earlier investors accompanied by the representation that the payments were the fruits

of revenues, when, in fact, they were not. The scheme also involved the laundering of funds

RECEIVER’S QUARTERLY REPORT – Q4 2023 – Page 10
      Case 6:23-cv-00321-ADA            Document 66       Filed 03/18/24      Page 11 of 15




through Freestone Energy accounts for no actual purpose except to add complexity and to give a

false impression that it was an actual operating company.

    C. Shelly Personal Assets and Liabilities

        24.     During the fourth quarter, Shelly executed a court-approved joint plan to liquidate

certain of his investments in real estate. Certain debts were also eliminated to reduce carrying

costs on that debt. Certain asset estimates were refined. The resulting Shelly position is reflected

on Exhibit C hereto.

        25.     As Shelly and the SEC have not yet resolved the extent of civil penalties to be

charged against the Shelly assets, the Receiver is seeking principally to maintain the status quo

with regard to the Shelly assets, except to the extent that liquidation reduces overall debt service

or other costs to maintain certain assets.

    D. Other Receivership Activities

        26.     As a result of the need to obtain a Court determination in regard to the CETA assets,

the Receiver took steps to secure and/or store the CETA equipment.

        27.     The Receiver has also established a document repository containing sufficient

CETA documents and related Hill documents to permit a reasonable reconstruction of the events

that gave rise to this receivership.

        28.     The Receiver has complied with administrative requirements.

        29.     The Receiver has compiled claims and responded to investor inquiries. In the

upcoming quarter, the Receiver will be taking steps to apply the bank records summary to adjust

the claims.

        30.     The Receiver has interacted with the parties to the main action.




RECEIVER’S QUARTERLY REPORT – Q4 2023 – Page 11
        Case 6:23-cv-00321-ADA         Document 66        Filed 03/18/24      Page 12 of 15




II.      SUMMARY OF ASSETS AND LIABILITIES

      A. Cash versus Administrative Expenses

         31.   The receivership estate’s combined cash and publicly traded liquid securities is

reflected on the attached Exhibit A. The amount is $66,406,447.01.

         32.   As of the end of the fourth quarter, the Receiver’s professionals have been paid

$156,261.98.

      B. Receipts and Disbursements

         33.   Exhibit A shows receipts and disbursements for the quarter and since inception.

This change reflects increases of approximately $800,000 due principally to stock market gains

and $1,380,000 in cash distributions to a post-receivership order investor (unlike everyone else,

this investor’s funds were deposited after the entry of the receivership order).

         34.   Exhibit E provides minor corrections to the SFAR from last quarter.

      C. Receivership Assets

               CETA, FIC, and Shelly Cash

         35.   As reflected on the attached Exhibit A, the value of the receivership estate’s

combined cash and publicly traded liquid securities was $66,406,447.01.

         36.   A breakdown of accounts by holder is provided as Exhibit B.

               Shelly Investments and Real Estate

         37.   Shelly’s investments and real estate are reported on Exhibit C hereto. Their value

net of debt is estimated at approximately $6.9 million.

               CETA Equipment, Vehicles, and Real Estate

         38.   The CETA equipment has been determined to have essentially salvage value.

         39.   The vehicles are being liquidated and those proceeds will be included in future

reports.

RECEIVER’S QUARTERLY REPORT – Q4 2023 – Page 12
      Case 6:23-cv-00321-ADA            Document 66        Filed 03/18/24      Page 13 of 15




       40.     CETA owns industrial yards in Fairfield and Streetman, Texas. The value has not

been determined.

       41.     CETA Land and Mineral Investments, Inc. appears to own a few lots of limited

value in Caddo Parish, Louisiana. The value has not been determined.

               Hill Assets

       42.     Mr. Hill does not appear to have material assets denominated in his own name. Mr.

Hill is reportedly and apparently being supported by the assets of Trust No. 2 and/or family

members.

   D. Claims Held by the Receivership Estate

       43.     Mr. Hill transferred approximately $11 million dollars to “Trust No. 2”, which

owns the house where he often lives and other property. An accounting of these transfers has now

been prepared, and the Receiver will be pressing the question of how Trust No. 2 will address these

improper transfers of investor funds.

       44.     CETA transferred closer to $6 million in respect of the Allen Brothers business, not

only to settle a family dispute over ownership, but also to provide counsel to one side of the family.

Additionally, some funds were employed to enhance oil and gas operations. These transfers have

now been summarized. The Receiver intends to continue to assess possible remedies to either

recover these funds or their value.

       45.     With the benefit of a forensic compilation of the bank records, it is now clear that

certain investors in earlier periods received back more than they invested. This issue remains

somewhat clouded due to the use of intermediary entities through which investments were pooled.

The Receiver will be working to complete this accounting, and weigh the cost/benefit of the

estate’s claw-back rights.




RECEIVER’S QUARTERLY REPORT – Q4 2023 – Page 13
         Case 6:23-cv-00321-ADA          Document 66        Filed 03/18/24    Page 14 of 15




       E. Claims of Creditors Against the Receivership Estate

          46.    The Receiver has compiled a working claims ledger.

          47.    In regard to investor claims, with the benefit of the above-described forensic

accounting, the investor claims will be examined and verified or adjusted. An updated claims list

will be presented.

          48.    As previously reported, five vendor claims totaling $1,381,268.85 have been

submitted.

          49.    Claims and claim inquiries may be submitted through the former CETA website,

located at www.cetaenergy.com.

          50.    Shelly liabilities are reflected on Exhibit C.

       F. Creditor Claims Proceedings

          51.    Claims have slowed and the Receiver believes he has received substantially all of

the claims, and the Receiver also has a bank records summary from which to determine whether

all investors have been identified.

          52.    The Receiver will be using the forensic work product to conduct a detailed claims

review, so that an interim distribution can be made if the Court determines that an interim

distribution should occur for the reasons discussed above.

III.      CONTINUATION OF THE RECEIVERSHIP

          53.    This topic is covered in detail in the Receiver’s prior reports. The basic situation

has not changed, and therefore the Receiver recommends that the receivership be continued.




RECEIVER’S QUARTERLY REPORT – Q4 2023 – Page 14
      Case 6:23-cv-00321-ADA           Document 66         Filed 03/18/24      Page 15 of 15




                                                      Respectfully submitted,

                                                      /s/ Dennis Roossien
                                                      Dennis L. Roossien, Jr.
                                                      Texas Bar No. 00784873
                                                      MUNSCH HARDT KOPF & HARR, P.C.
                                                      500 N. Akard Street, Suite 4000
                                                      Dallas, Texas 75201-6659
                                                      Telephone: 214.855.7535
                                                      droossien@munsch.com

                                                      COUNSEL FOR RECEIVER


                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 18th day of March, 2024, a true and correct copy of the foregoing
instrument was served electronically in compliance with the Court’s Electronic Filing Procedures
on all counsel of record who are deemed to have consented to electronic service.

                                                           /s/ Dennis Roossien




RECEIVER’S QUARTERLY REPORT – Q4 2023 – Page 15
